Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 1 of 48

Levine Kellogg Lehman Schneider + Grossman LLP

Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp March 1, 2023
C/O Judith M. Peraza Bill # 35961
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

02/03/23 EP Emails to and from Judy Peraza regarding possible 1.50 525.00
interpleader; Review real estate contract and
addendums; Review federal lawsuit by Buyer and
Seller and pleadings filed in same

02/06/23 EP Commence draft of proposed Complaint for 1.50 525.00
Interpleader; Review documents forwarded by client

02/08/23 EP Email to Peraza regarding proposed strategy; 0.20 70.00

02/17/23 EP Continued preparation of Complaint for Interpleader 1.20 420.00

and prepare exhibits to same; Draft Summonses;
Email to client regarding draft complaint;

02/21/23 EP Email to client regarding proposed Complaint 0.10 35.00

02/27/23 EP Email from and to client regarding Complaint; 0.20 70.00
Prepare Complaint for filing

02/28/23 EP Prepare Summonses for Issuance 0.10 35.00

Fee Summary

Name Hours Amount
Ellen Patterson 4.80 1,680.00

Total Fees 4.80 $1,680.00
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 2 of 48

Client Ref: 15543 - 002 March 1, 2023
Bill # 35961 Page 2

Current Bill Total Amount Due $1,680.00
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 3 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 35961

Bill Date: March 1, 2023

Client Code: 15543

Matter Code: 002

Matter Name: Autonomy Investment

Current Bill Total Amount Due $1,680.00

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 4 of 48
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX
Tax |,D.: XX-XXXXXXX
Perland Title & Escrow Corp April 1, 2023
C/O Judith M. Peraza Bill # 36194
9100 S. Dadeland Blvd., Suite 500
Miami, FL 33156
Re: 15543-002
Autonomy Investment
Professional Fees
Atty Description Hours Amount
03/06/23 EP Prepare complaint for service and communicate with 0.10 35.00
process server
03/13/23 EP Email from and to process server regarding attempts 0.30 105.00
to serve Authonomy; Draft proposed Acceptance of
Service on behalf of Authonomy; Email to Kevin
Chase, Esq. regarding same;
03/13/23 EP Review Return of Service for Defendant, Ulla Holding 0.10 35.00
03/15/23 EP Emails from and to Mr. Chase regarding interpleader 0.10 35.00
and proposed Acceptance of Service
03/16/23 EP Additional emails from and to Mr. Chase regarding 0.10 35.00
Interpleader
03/22/23 EP Email to Kevin Chase, Esq., following-up regarding 0.10 35.00
Acceptance of Service
03/29/23 EP Email from and to Kevin Chase, Esq. regarding 0.10 35.00
proposed Acceptance of Service for Autonomy
Fee Summary
Name Hours Amount
Ellen Patterson 0.90 315.00
Total Fees 0.90 $315.00
Costs
Expenses Amount
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 5 of 48

Client Ref: 15543 - 002 April 1, 2023
Bill # 36194 Page 2
Costs

Expenses Amount

Filing Fee 431.00

Service of Process 130.00

Total Costs $561.00

Current Bill Total Amount Due $876.00
Past Due Amount $1,680.00

Total Balance Due $2,556.00

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 6 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 36194
Bill Date: April 1, 2023
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $876.00
Past Due Amount $1,680.00
Total Balance Due $2,556.00

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 7 of 48
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX
Tax |.D.: XX-XXXXXXX
Perland Title & Escrow Corp May 1, 2023
C/O Judith M. Peraza Bill # 36386
9100 S. Dadeland Blvd., Suite 500
Miami, FL 33156
Re: 15543-002
Autonomy Investment
Professional Fees
Atty Description Hours Amount
04/12/23 EP Email to Kenneth Chase, Esq. regarding pending 0.10 35.00
response from Autonomy
04/17/23 EP Review Autonomy's Notice of State Court Removal 0.10 35.00
04/24/23 EP Commence preparation of proposed Motion to 1.00 350.00
Deposit Funds
04/24/23 EP Review Answer, Affirmative Defenses and 0.10 35.00
Crossclaim filed by Autonomy
04/25/23 EP Review email from Chase regarding removal to 0.30 105.00
federal court; Draft and file Notice of Appearance on
behalf of Perland Title; Draft Notice of Change of
Address
Fee Summary
Name Hours Amount
Ellen Patterson 1.60 560.00
Total Fees 1.60 $560.00
Costs
Expenses Amount
Postage 2.40

Total Costs

$2.40
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 8 of 48

Client Ref: 15543 - 002 May 1, 2023
Bill # 36386 Page 2
Current Bill Total Amount Due $562.40
Past Due Amount $2,556.00

Total Balance Due $3,118.40

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 9 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 36386
Bill Date: May 1, 2023
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $562.40
Past Due Amount $2,556.00
Total Balance Due $3,118.40

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 10 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp June 1, 2023
C/O Judith M. Peraza Bill # 36631
9100 S. Dadeland Bivd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

05/01/23. EP Review Order entered sua sponte by Court referring 0.10 35.00
case to Magistrate Judge

05/11/23. EP Review status report filed by Autonomy; Review 0.10 35.00

Notice of Order referring case to Magistrate; Review
Autonomy's Motion for Extension to file Declaration of
Citizenship; Review Affidavit filed by Autonomy;

05/12/23 EP Review Order entered by Court, denying Autonomy's 0.10 35.00
Motion for Extension as moot

05/12/23 EP Review and revise proposed Joint Scheduling Report; 0.30 105.00
Email from and to Brian Fell regarding same;

05/15/23 EP Review Joint Scheduling Report filed with the Court 0.10 35.00

05/19/23 EP Emails from and to client regarding status of litigation 0.20 70.00

05/19/23 EP Review Court's Order directing Clerk to issue default 0.10 35.00
against Ulla

05/22/23 EP Review Notice from Corporate Service regarding 0.10 35.00

inability to forward serviced to Ulla; Email to client
regarding same

05/22/23 EP Review Default entered by Clerk against Ulla 0.10 35.00
05/24/23 EP Commence draft of initial disclosures 0.50 175.00
05/25/23 EP Continued preparation of initial disclosures 0.50 175.00

05/25/23 EP Review additional contact information for Ulla 0.10 35.00
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 11 of 48

Client Ref: 15543 - 002 June 1, 2023
Bill # 36631 Page 2

Fee Summary

Name Hours Amount

Ellen Patterson 2.30 805.00

Total Fees 2.30 $805.00

Costs

Expenses Amount

Service of Process 45.00

Title Insurance 20.00

Total Costs $65.00

Current Bill Total Amount Due $870.00
Past Due Amount $3,118.40

Total Balance Due $3,988.40
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 12 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 36631
Bill Date: June 1, 2023
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $870.00
Past Due Amount $3,118.40
Total Balance Due $3,988.40

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 13 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp July 1, 2023
C/O Judith M. Peraza Bill # 36994
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

06/05/23 EP Review Scheduling Order entered by Court; Email to 0.20 70.00
client regarding order setting trial

06/12/23 EP Email from and to client regarding status 0.10 35.00

06/16/23 EP Review Autonomy's List of Fact Witnesses; Email 0.20 70.00
from and to Autonomy's counsel regarding same

06/21/23 EP Review updated notice from CSC regarding service 0.40 140.00
of Ulla; Draft Motion for Extension to serve Ulla;

06/29/23 EP Research and review case law in support of Motion 1.00 350.00
for Summary Judgment of Interpleader

06/29/23 EP Email to and from opposing counsel for Autonomy, 0.20 70.00

Kenneth Chase, Esq., regarding possible joint motion
to dispose of mediation and intent to move to deposit
funds in registry

06/29/23 JL Review and analyze all filings in the case in order to 1.50 525.00
prepare a motion for summary judgment on
interpleader order.

06/29/23 JL Research, review and analyze case law regarding the 1.20 420.00
federal interpleader statute 28 US 1335 and the
Federal Rule of Civil Procedure 22.

06/29/23 JL Begin to draft motion for summary judgment. 1.90 665.00

06/30/23 EP Review email from Chase regarding his intent to file 1.40 490.00
Rule 11 Motion; Emails to client regarding same and
attempts to contact Ulla; Commence revisions to
proposed Motion for Summary Judgment;

06/30/23 EP Review Order entered granting Motion for Extension 0.10 35.00
to Serve Ulla
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 14 of 48

Client Ref: 15543 - 002 July 1, 2023
Bill # 36994 Page 2

Professional Fees

Atty Description Hours Amount

06/30/23 EP Review emails between client and Ulla 0.20 70.00

06/30/23 JL Review and analyze all the filings in the 2021 case 1.70 595.00
and draft statement of material facts as required by
Rule 56.1.

06/30/23 JL Edit, proofread and finalize statement of material 0.80 280.00
facts as required by Rule 56.1.

06/30/23 JL Continue to draft motion for summary judgment on 1.30 455.00
interpleader.

06/30/23 JL Edit, proofread and finalize draft motion for summary 0.90 315.00
judgment on interpleader.

06/30/23 JL Draft emails to Delburgo regarding service of 0.30 105.00
process.

06/30/23 JL Draft email to Delburgo’s former counsel regarding 0.20 70.00
phone contact information for him.

06/30/23 JL Review and analyze client’s communications with 0.30 105.00
Delburgo.

Fee Summary

Name Hours Amount

Ellen Patterson 3.80 1,330.00

Jezabel Lima 10.10 3,535.00

Total Fees 13.90 $4,865.00

Costs

Expenses Amount

Postage 1.70

Total Costs $1.70

Current Bill Total Amount Due $4,866.70
Past Due Amount $3,988.40

Total Balance Due $8,855.10

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 15 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 36994
Bill Date: July 1, 2023
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $4,866.70
Past Due Amount $3,988.40
Totai Balance Due $8,855.10

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 16 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp August 1, 2023
C/O Judith M. Peraza Bill # 37154
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount
07/03/23. EP Email from client regarding contact for Del Burgo 0.10 35.00
07/03/23 EP Review and revise proposed Statement of Facts in 0.60 210.00

Support of Motion for Summary Judgment of
Interpleader; Review and revise proposed Motion for
Summary Judgment of Interpleader

07/03/23 EP Draft email correspondence to client regarding 0.10 35.00
proposed Motion for Summary Judgment and
Statement of Facts

07/03/23 JL Communicate with Jaime Del Burgo regarding 0.30 105.00
service of process over Ulla Holding.
07/05/23 EP Emails to and from opposing counsel regarding court 0.40 140.00

ordered mediation; Telephone conference with client;
Draft proposed Order of mediation;

07/05/23 EP Review Order Striking Joint Notice of Mediator 0.70 245.00
Selection; Email to Joe Huss, Esq. regarding same;
Draft Motion for Leave to Select Uncertified Mediator;
Emails to and from client regarding status of litigation

07/05/23 EP Review prior email correspondence from Del Burgo 0.20 70.00
to Perland Title; Additional emails with opposing
counsel regarding mediation;

07/05/23 JL Prepare notice of mediation. 0.10 35.00

07/05/23 JL Draft email to process server (Carlos) regarding 0.20 70.00
investigation into Jaime Del Burgo’s whereabouts.

07/06/23 JL Final proofread, edit, and finalization of Motion for 0.30 105.00

Summary Judgment.
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 17 of 48

Client Ref: 15543 - 002 August 1, 2023
Bill # 37154 Page 2

Professional Fees

Atty Description Hours Amount

07/06/23 JL Compile all exhibits to the Statement of Materials 0.50 175.00
Facts.

07/06/23 JL Final proofread, edit, and finalization of Statement of 0.30 105.00
Materials Facts for efiling.

07/06/23 JL Continue to communicate with Jaime Del Burgo 0.30 105.00
regarding service of process over Ulla Holding.

07/10/23 EP Review correspondence from process server 0.10 35.00
regarding skip trace on Ulla Holding

07/12/23 KAG Research whether service of process pursuant to 2.00 400.00

state law is valid in federal court and research the
steps necessary to comport with Florida Statute

48.161.

07/12/23 EP Review proposed and issued summons on 0.10 35.00
Autonomy's Crossclaim against Ulla

07/14/23 KAG Research sufficiency of allegations for concealment 1.00 200.00
of whereabouts for the purposes of substitution of
process

07/14/23 EP Review and revise proposed Motion for Leave to 0.40 140.00
Amend and proposed Amended Complaint

07/14/23 JL Draft additional correspondence to del Burgo 0.40 140.00
regarding service of process on Ulla and review his
response.

07/14/23 JL Draft motion for leave to amend to include allegations 2.20 770.00
of evasion of service by Ulla/del Burgo.

07/14/23 JL Draft proposed allegations to include in amended 0.60 210.00
complaint.

07/17/23 EP Email from and to Lisa from Huss' office regarding 0.10 35.00
status of mediation

07/17/23 JL Compile exhibits for motion for leave to amend. 0.30 105.00

07/18/23 EP Prepare Motion for Leave and proposed Amended 0.10 35.00
Complaint for filing

07/19/23 EP Email to and from Kenneth Chase, Esq., regarding 0.20 70.00
Motion for Leave to Amend Complaint

07/19/23. EP Review email communications between Ms. Lima and 0.10 35.00
Mr. Del Burgo

07/20/23 JL Compile all emails exchanged with Jaime Del Burgo. 0.30 105.00

07/20/23 EP Review notice from CSC 0.10 35.00
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 18 of 48

Client Ref: 15543 - 002 August 1, 2023
Bill # 37154 Page 3

Professional Fees

Atty Description Hours Amount
07/20/23 EP Review Autonomy's Statement of Facts 0.10 35.00
07/24/23 JL Review and analyze Autonomy’s Response in 0.70 245.00

Opposition to Perland’s Motion for Summary
Judgment and draft outline of points to rebut.

07/24/23 JL Review, analyze and distinguish case law cited in 2.20 770.00
Autonomy’s Response in Opposition to Perland’s
Motion for Summary Judgment.

07/24/23 JL Draft Reply in Support of Perland’s Motion for 1.20 420.00
Summary Judgment.

07/24/23 JL Edit, proofread and finalize Reply. 0.30 105.00

07/24/23 JL Review and analyze Autonomy’s Response to 0.40 140.00
Perland’s Statement of Material Facts.

07/24/23 JL Draft Reply to Autonomy’s Response to Perland’s 1.20 420.00
Statement of Material Facts.

07/24/23) JL Edit, proofread and finalize Reply to Autonomy’s 0.30 105.00
Response to Perland’s Statement of Material Facts.

07/24/23 EP Review and revise proposed Reply to Autonomy's 0.80 280.00

Response in Opposition to Summary Judgment of
Interpleader

07/24/23 EP Review and revise Reply to Autonomy's Statement of 0.60 210.00
the Facts

07/24/23 EP Draft final revisions to Response to Autonomy's 0.10 35.00
Statement of the Facts

07/31/23 JL Draft interrogatory responses to Autonomy’s first set 1.80 630.00
of interrogatories.

07/31/23 EP Review Autonomy's Interrogatories to Perland Title; 0.50 175.00

Review Autonomy's Request for Production to
Perland Title; Email to client regarding same;

07/31/23. EP Email to and from Mr. Chase regarding discovery 0.10 35.00
requests

07/31/23 EP Review and revise proposed Responses to 0.70 245.00
Interrogatories

07/31/23 EP Draft email correspondence to client regarding 0.20 70.00
proposed Responses to Interrogatories

07/31/23 EP Commence review and revisions to proposed 1.60 560.00

Responses to Request for Production; Commence
preparation of documents responsive to requests
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 19 of 48

Client Ref: 15543 - 002 August 1, 2023
Bill # 37154 Page 4

Fee Summary

Name Hours Amount

Ellen Patterson 8.00 2,800.00

Katelyn A. Garciga 3.00 600.00

Jezabel Lima 13.90 4,865.00

Total Fees 24.90 $8,265.00

Costs

Expenses Amount

Westlaw Research 128.98

Total Costs $128.98

Current Bill Total Amount Due $8,393.98
Past Due Amount $8,855.10

Total Balance Due $17,249.08

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 20 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 37154
Bill Date: August 1, 2023
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $8,393.98
Past Due Amount $8,855.10
Total Balance Due $17,249.08

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 21 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax I.D.: XX-XXXXXXX

Perland Title & Escrow Corp September 1, 2023
C/O Judith M. Peraza Bill # 39338
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

08/01/23 EP Review Autonomy's First Request for Production to 0.50 175.00
Perland Title; Review Autonomy's First Set of
Interrogatories to Perland Title; Email to client
regarding discovery requests

08/01/23. EP Review and revise proposed Response to 0.40 140.00
Autonomy's Request for Production

08/01/23 JL Draft responses and objections to First Request for 1.30 455.00
Production.

08/02/23 EP Draft email correspondence to client regarding 0.30 105.00
Responses to Autonomy's discovery requests

08/03/23 EP Emails to and from client regarding document 0.30 105.00
production

08/04/23 EP Telephone conference with client regarding discovery 0.30 105.00
requests

08/07/23 EP Review Notice from CSC regarding inability to 0.10 35.00
forward service

08/08/23 EP Email to client regarding execution of Interrogatory 0.10 35.00
responses

08/09/23 EP Commence review of documents provided by client 0.30 105.00

08/10/23 EP Commence revisions to Responses to Interrogatories 0.20 70.00

08/28/23 EP Prepare and serve Response to Autonomy's 0.40 140.00

Interrogatories; Prepare and serve Responses to
Autonomy's Request for Production;

08/29/23 EP Review Autonomy's Motion for Clerk Default against 0.10 35.00
Ulla; Review E-Order of Default
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 22 of 48

Client Ref: 15543 - 002 September 1, 2023
Bill # 39338 Page 2

Professional Fees

Atty Description Hours Amount

08/29/23 EP Review e-Order granting Motion to Appoint Joe Huss, 0.50 175.00
Esq. as mediator; Emails to and from Huss' office to
confirm mediation; Emails to and from opposing
counsel and client regarding same;

08/29/23 EP Emails from and to Kenneth Chase, Esq. regarding 0.10 35.00
improper service on Ulla
08/29/23 EP Emails from and to Chase regarding his request for 0.30 105.00

evidence deposit remains in escrow; Telephone call
and emails to client regarding same;

08/29/23 EP Draft proposed Affidavit of Perland Title confirming 0.20 70.00
deposit remains in escrow
08/30/23 EP Emails to and from client regarding escrow deposit: 0.70 245.00

Review escrow and bank statement from client
regarding escrow deposit; Redact same; Emails to
and from Chase regarding statements;

08/31/23 EP Review Notice of Mediation prepared by Huss' office; 0.30 105.00
prepare Notice of Entry of Parties to add mediator

08/31/23 EP Email to and from Del Burgo regarding court ordered 0.10 35.00
mediation

08/31/23 EP Review Autonomy's Subpoena to City National: 0.20 70.00

Emails to and from client regarding same:

Fee Summary

Name Hours Amount
Elien Patterson 5.40 1,890.00
Jezabel Lima 1.30 455.00

Total Fees 6.70 $2,345.00

Costs

Expenses Amount
Postage 2.20
Westlaw Research 65.37

Total Costs $67.57
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 23 of 48

Client Ref: 15543 - 002 September 1, 2023
Bill # 39338 Page 3
Current Bill Total Amount Due $2,412.57
Past Due Amount $14,749.08

Total Balance Due $17,161.65

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 24 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39338
Bill Date: September 1, 2023
Client Code: 15543

Matter Code: 002
Matter Name: Autonomy Investment

Current Bill Total Amount Due $2,412.57
Past Due Amount $14,749.08
Total Balance Due $17,161.65

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 25 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax I.D.: XX-XXXXXXX

Perland Title & Escrow Corp October 1, 2023
C/O Judith M. Peraza Bill # 39339
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount
09/01/23 JL Draft, edit, proofread and finalize Motion for 2.50 875.00
Protective Order regarding City National bank
records.
09/01/23 EP Review from and to Del Burgo objecting to mediation; 0.40 140.00

Email to and from Joss Huss' office regarding court
ordered mediation; Review Affidavit executed by
Perland Title regarding escrow deposit

09/01/23 EP Revise proposed Motion for Protective Order 0.30 105.00

09/01/23. EP Emails from and to Chantal Malebranche from City 0.30 105.00
National Bank of Florida regarding subpoena served
by Autonomy

09/01/23. EP Email to and from opposing counsel regarding 0.10 35.00
subpoena to City National

09/05/23 EP Email from and to Chatal Malebranche regarding 0.20 70.00
Motion for Protective Order

09/06/23 EP Review email correspondence from Malebranche 0.10 35.00

confirming City National will not respond to supboena
until parties agree or ruling by the court

09/18/23 EP Review notice from CSC regarding inability to forward 0.10 35.00
service to Ulla

09/18/23 EP Emails from and to client in preparation for mediation 0.30 105.00

09/19/23. EP Review email from counsel for Autonomy regarding 0.10 35.00

request for extension to respond to Motion to Quash
and/or for Protective Order

09/19/23 EP Review Autonomy's Motion for Extension to file 0.10 35.00
response to Motion for Protective Order
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 26 of 48

Client Ref: 15543 - 002 October 1, 2023
Bill # 39339 Page 2

Professional Fees

Atty Description Hours Amount
09/20/23 JL Draft detailed email to Judge Reid pursuant to 0.70 245.00
discovery order.
09/20/23 JL Review multiple emails to and from Kenneth Chase 0.30 105.00
regarding the subpoena.
09/20/23 EP Review Court's Standing Discovery Order entered 2.20 770.00

9/20/23; Review Paperless Order striking Motion to
Quash and instructing Plaintiff to contact magistrate
to resolve discovery; Review paperless order denying
Autonomy's Motion for Extension as moot; Telephone
call and emails to and from magistrate's office in
attempt to set hearing on Motion to Quash; Mulitple
emails from and to Kenneth Chase, Esq. regarding
recent orders entered by the court; Review proposed
correspondence to magistrate; Emails to and from
client regarding recent orders and strategy; Emails to
and from City National regarding recent orders by the

court

09/21/23 JL Review and respond to Magistrate Judge’s JA 0.10 35.00
regarding availability for hearing.

09/21/23 JL Review and revise Notice of Hearing per Magistrate 0.20 70.00
Judge’s Discovery Order.

09/21/23 EP Draft Notice of Hearing with magistrate; Review email 0.50 175.00

from Del Burgo to client; Forward copy of email to
Chase; Review email from magistrate confirming
hearing on Motion for Protective Order; Review
Magistrate's paperless Notice of Hearing; Review
email from Lewelly Kamin, Esq., counsel for City
National, regarding subpoena;

09/21/23 EP Review additional email from Del Burgo to client; 0.10 35.00
Forward same to Chase

09/22/23 EP Email to counsel for City National regarding filed 0.10 35.00
Motion to Quash and/or for Protective Order

09/25/23 JL Review string of latest communications between Del 0.20 70.00
Burgo and Perland Title.

09/25/23 JL Draft correspondence to Del Burgo in response to his 0.30 105.00
latest email to Perland Title.

09/25/23 EP Telephone conference with and emails to Joe Huss, 0.50 175.00

Esq. regarding case in advance of mediation
09/25/23 EP Email to Del Burgo regarding mediation 0.10 35.00
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 27 of 48

Client Ref: 15543 - 002 October 1, 2023
Bill # 39339 Page 3

Professional Fees

Atty Description Hours Amount
09/26/23 EP Review zoom instructions provided by magistrate for 0.10 35.00
hearing regarding subpoena
09/28/23 EP Conference with Joe Huss, Esq. regarding case in 1.40 490.00
preparation for mediation: Attendance at mediation;
09/29/23 EP Review mediation report filed by Huss; Email to and 0.20 70.00

from Huss requesting amendment to same to
correctly reflect appearance of Plaintiff's counsel

Fee Summary

Name Hours Amount

Ellen Patterson 7.20 2,520.00

Jezabel Lima 4.30 1,505.00

Total Fees 11.50 $4,025.00

Current Bill Total Amount Due $4,025.00
Past Due Amount $17,161.65

Total Balance Due $21,186.65

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 28 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39339

Bill Date: October 1, 2023

Client Code: 15543

Matter Code: 002

Matter Name: Autonomy Investment

Current Bill Total Amount Due $4,025.00

Past Due Amount $17,161.65
Total Balance Due $21,186.65

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 29 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax 1.D.: XX-XXXXXXX

Perland Title & Escrow Corp November 1, 2023
C/O Judith M. Peraza Bill # 39340
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

10/02/23 EP Review email from Chase, indicating Autonomy's 0.20 70.00
withdrawal of subpoena to City National; Email to City
National and client regarding same;

10/02/23 EP Draft Notice of Cancellation of Hearing with 0.10 35.00
Magistrate regarding Motion for Protective Order

10/12/23 EP Review email from opposing counsel, as purported 0.10 35.00
meet and confer on Autonomy's Motion for Default
Judgment as to Counterclaim (motion not filed or

attached)

10/13/23 EP Emails from and to Chase regarding Plaintiff's 0.30 105.00
anticipated Motion for Default Judgment on
Crossclaim

10/16/23 JL Review and analyze Autonomy’s proposed Motion for 0.30 105.00

Default against Ulla and multiple emails with Kenneth
Chase regarding the Motion.

10/16/23 JL Draft detailed meet and confer response to Kenneth 0.30 105.00
Chase.
10/16/23 EP Emails from and to Kenneth Chase, Esq. regarding 0.30 105.00

response to Autonomy's Motion for Default Judgment
on Crossclaim against Ulla

10/16/23 EP Review Affidavit of Kenneth Chase in Support of 0.20 70.00
Motion for Default Judgment on Crossclaim; Review
Autonomy's proposed Order

10/16/23 EP Review email from Chase to Judge's office regarding 0.10 35.00
Autonomy's proposed Order on Motion for Final
Default Judgment
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 30 of 48

Client Ref: 15543 - 002 November 1, 2023
Bill # 39340 Page 2

Professional Fees

Atty Description Hours Amount

10/16/23 EP Draft email to Judge regarding intend to file a 0.10 35.00
response to Autonomy's Motion for Default Judgment
for Crossclaim

10/17/23 JL Review Kenneth Chase’s email to the Court with 0.30 105.00
proposed order and his filings regarding Autonomy’s
Motion for Default.

10/17/23 JL Draft Response to Autonomy’s Motion for Default 0.80 280.00
against Ulla.

10/17/23 EP Review and revise written Response to Autonomy's 0.50 175.00
Motion for Judgment upon Default on Crossclaim
against Ulla

10/18/23 EP Email from and to client regarding status 0.10 35.00

10/23/23 EP Draft Notice of 90 Days Expiring on Motion for 0.30 105.00
Summary Judgment of Interpleader

10/23/23 EP Review Autonomy's Reply to Perland Title's 0.10 35.00
Response to Motion for Default Judgment on
Crossclaim

10/26/23 EP Review email from Del Burgo, claiming he is on his 0.10 35.00
way to Florida

10/27/23 EP Email from and to client regarding communication 0.10 35.00

from Del Burgo

Fee Summary

Name Hours Amount
Ellen Patterson 2.60 910.00
Jezabel Lima 1.70 595.00

Total Fees 4.30 $1,505.00

Costs

Expenses Amount
Postage 1.26
Mediation Fee 0.00

Total Costs $1.26
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 31 of 48

Client Ref: 15543 - 002

November 1, 2023
Bill # 39340

Page 3
Current Bill Total Amount Due $1,506.26
Past Due Amount $21,186.65

Total Balance Due $22 692.91

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 32 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39340
Bill Date: November 1, 2023
Client Code: 15543

Matter Code: 002
Matter Name: Autonomy Investment

Current Bill Total Amount Due $1,506.26
Past Due Amount $21,186.65
Total Balance Due $22,692.91

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 33 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax 1.D.: XX-XXXXXXX

Perland Title & Escrow Corp December 1, 2023
C/O Judith M. Peraza Bill # 39341
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

11/08/23 EP Draft Notice of 90 Days Expiring on Motion forLeave 0.10 35.00
to Amend Complaint

11/16/23 EP Review Court's paperless order: (i) denying 0.50 175.00

Autonomy's Motion for Default Judgment on
Crossclaim without prejudice; (ii) denying Perland's
Motion for Summary Judgment of Interpleader
without prejudice; and (iii) granting Motion for Leave
to file Amended Complaint; Email to client regarding
court's ruling; Prepare Amended Complaint for filing;
Draft Summons; ,

11/17/23 JL Review and analyze Judge’s ruling and finalize 0.20 70.00
amended complaint for efiling and attend to issuance
of new subpoena for Ulla c/o Secretary of State.

11/20/23 EP Prepare summons for Amended Complaint 0.10 35.00

11/20/23 EP Process electric service of process of Ulla Holding 0.20 70.00
with Secretary of State

11/20/23 EP Review confirmation of acceptance of service of 0.10 35.00
process from Secretary of State

11/20/23 EP Draft Notice of Service of Process and prepare 1.20 420.00

exhibits to same; Review and revise Affidavit in
Support of Substitute Service;

11/21/23 JL Review and analyze the Acknowledgment of Service 0.20 70.00
and all attachment thereto, including Response Letter
from Florida Secretary of State, in preparation for
drafting notice letter to Del Burgo regarding service of
process through the Florida Secretary of State.
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 34 of 48

Client Ref: 15543 - 002 December 1, 2023
Bill # 39341 Page 2

Professional Fees

Atty Description Hours Amount
11/21/23 JL Draft notice letter to Del Burgo regarding service of 0.80 280.00
process through the Florida Secretary of State.
14/21/23 JL Draft required affidavit pursuant to Fla. Stat. Sections 1.00 350.00
48.161 and 48.181.and compile all exhibits thereto.
41/30/23 EP Email from and to Stephen Byrnes regarding 0.10 35.00

Autonomy's request for extension to respond to
Amended Complaint

Fee Summary

Name Hours Amount

Ellen Patterson 2.30 805.00

Jezabel Lima 2.20 770.00

Total Fees 4.50 $1,575.00

Costs

Expenses Amount

Postage 10.60

Total Costs $10.60

Current Bill Total Amount Due $1,585.60
Past Due Amount $22,692.91

Total Balance Due $24,278.51

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 35 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39341
Bill Date: December 1, 2023
Client Code: 15543

Matter Code: 002
Matter Name: Autonomy Investment

Current Bill Total Amount Due $1,585.60
Past Due Amount $22,692.91
Total Balance Due $24,278.51

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 36 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax 1.D.: XX-XXXXXXX

Perland Title & Escrow Corp January 1, 2024
C/O Judith M. Peraza Bill # 39342
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount
12/01/23 EP Review Autonomy's Motion for Extension to file 0.10 35.00
Answer to Amended Complaint
12/01/23 EP Review order entered granting Autonomy's Motion for 0.10 35.00
Extension
12/04/23 EP Draft Proof of Service of Process of Amended 1.00 350.00

Complaint on Defendant, Ulla Holding, Inc. and
exhibits to same;

12/11/23 EP Review Return Receipt for correspondence to Ulla 0.10 35.00

12/11/23 EP Review Answer and Affirmative Defenses filed by 0.10 35.00
Autonomy to Amended Complaint

12/13/23 EP Review and revise proposed Motion for Default 0.10 35.00
against Ulia

12/13/23 EP Review electronic order of default against Ulla 0.10 35.00

12/13/23 JL Edit, proofread and finalize Motion. 0.20 70.00

12/13/23 JL Draft Motion for Default against Ulla. 0.60 210.00

12/13/23 JL Review and analyze docket and filings pertaining to 0.80 280.00

substitute service on Ulla in preparation for drafting
Motion for Default against Ulla.

12/22/23 JL Begin to draft revised statement of material facts to 1.00 350.00
be filed in connection with renewed summary
judgment motion.
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 37 of 48

Client Ref: 15543 - 002 January 1, 2024
Bill # 39342 Page 2

Fee Summary

Name Hours Amount

Ellen Patterson 1.60 560.00

Jezabel Lima 2.60 910.00

Total Fees 4.20 $1,470.00

Costs

Expenses Amount

Postage 3.42

Total Costs $3.42

Current Bill Total Amount Due $1,473.42
Past Due Amount $32,452.97

Total Balance Due $33,926.39

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 38 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39342
Bill Date: January 1, 2024
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $1,473.42
Past Due Amount $32,452.97
Total Balance Due $33,926.39

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 39 of 48

Levine Kellogg Lehman Schneider + Grossman LLP

Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax [D No. XX-XXXXXXX

Tax [.D.: XX-XXXXXXX

Perland Title & Escrow Corp February 1, 2024
C/O Judith M. Peraza Bill # 39343
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

01/02/24 EP Review and revise Renewed Motion for Summary 0.80 280.00
Judgment of Interpleader Order; Review and Revise
Renewed Statement of Material Facts in Support of
Motion:

01/02/24 JL Continue to draft revised statement of material facts 0.50 175.00
to be filed in connection with renewed summary
judgment motion.

01/02/24 JL Draft renewed summary judgment motion. 1.00 350.00

01/02/24 JL Edit, proofread and finalize motion for summary 0.50 175.00
judgment and statement of material facts.

01/10/24 EP Review email from Kenneth Chase, Esq. regarding 0.10 35.00
intent to file Motion for Sanctions

01/11/24 EP Draft email response to Kenneth Chase, Esq. 0.20 70.00

01/11/24 EP Review additional emails from Chase 0.10 35.00

01/11/24 EP Research and review case law in support of claim for 0.50 175.00
fees and costs

01/11/24 EP Draft email to client regarding status and 0.20 70.00
communications from opposing counsel

01/12/24 EP Additional emails from and to Kenneth Chase, Esq. 0.40 140.00

01/12/24 EP Review eorder referring case to magistrate for 0.10 35.00

dispositive motions and trial

01/16/24 EP Review paperless order resetting/confirming calendar 0.10 35.00
call and trial with magistrate
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 40 of 48

Client Ref: 15543 - 002 February 1, 2024

Bill # 39343
Professional Fees

Atty Description Hours

01/18/24 EP Review Autonomy's Response in Opposition to 0.60
Renewed Motion for Summary Judgment; Review
Autonomy's Statement of Material Facts in
Opposition to Renewed Motion for Summary

Judgment;

01/19/24 EP Email to and from and telephone conference with 0.30
Plaintiff regarding status

01/19/24 EP Multiple emails from and to Kenneth Chase, Esq., 0.70

counsel for Autonomy, regarding his demand for
disbursement of deposit

01/24/24 EP Review and revise proposed Reply to Autonomy's 1.00
Response in Opposition to Renewed Motion for
Summary Judgment: Review and revise proposed
Reply to Autonomy's Additional Facts; Review
proposed Request for Oral Argument; Additional
emails from and to Mr. Chase;

01/24/24 EP Email to client regarding recent pleadings 0.10

01/24/24 JL Compare and contrast Autonomy’s prior response to 2.10
our MSJ with the new response to our Renewed MSJ
and draft Reply in support of MSJ.

01/24/24 JL Compare and contrast Autonomy’s prior response to 1.20
our Statement of Facts with the new response to our
Statement of Facts and draft Reply Statement of

Facts.
01/24/24 JL Draft Motion for Oral Argument. 0.30
01/25/24 EP Review proposed forms of final judgment of 0.20

interpleader

Fee Summary

Name Hours
Ellen Patterson 5.40
Jezabel Lima 5.60
Total Fees 11.00
Costs
Expenses
Postage
Pacer
Total Costs

Page 2

Amount

210.00

105.00

245.00

350.00

35.00
735.00

420.00

105.00
70.00

Amount

1,890.00
1,960.00

$3,850.00

Amount

1.87
22.00

$23.87
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 41 of 48

Client Ref: 15543 - 002 February 1, 2024
Bill # 39343 Page 3
Current Bill Total Amount Due $3,873.87
Past Due Amount $25,751.93

Total Balance Due $29,625.80

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 42 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39343
Bill Date: February 1, 2024
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bili Total Amount Due $3,873.87
Past Due Amount $25,751.93
Total Balance Due $29,625.80

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 43 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp March 1, 2024
C/O Judith M. Peraza Bill # 39344
9100 S. Dadeland Blva., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

02/01/24 EP Review Paperless Order granting Motion for Hearing 0.10 35.00
on Renewed Motion for Summary Judgment
Interpleader Order

02/01/24 EP Email to client regarding summary judgment hearing 0.10 35.00

02/01/24 EP Email to Dulburgo regarding summary judgment 0.10 35.00
hearing

02/02/24 EP Review paperless order changing time for summary 0.10 35.00
judgment hearing

02/02/24 EP Draft Notice of Hearing 0.10 35.00

02/06/24 EP Draft email to Chase regarding proposal for Joint 0.10 35.00
Motion to Continue certain pre-trial deadlines

02/07/24 EP Multiple emails from and to Kenneth Chase, Esq. 0.40 140.00
regarding proposal to postpone pre-trial deadlines

02/08/24 EP Commence draft of proposed Motion to Extend 1.00 350.00
Certain Pre-Trial Deadlines

02/09/24 EP Additional email to Kenneth Chase, Esq. regarding 0.10 35.00
proposed Motion to Extension Certain Pre-Trial
Deadlines

02/09/24 EP Commence preparation for hearing on Motion for 1.50 525.00
Summary Judgment

02/12/24 EP Review email from Kenneth Chase, Esq. confirming 0.10 35.00

Autonomy's opposition to Motion to Extend Certain
Pre-Trial Deadlines

02/12/24 EP Finalize draft of Motion to Extend Certain Pre-Trial 0.30 105.00
Deadline;
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 44 of 48

Client Ref: 15543 - 002 March 1, 2024
Bill # 39344 Page 2

Professional Fees

Atty Description Hours Amount
02/12/24 EP Continued preparation for in-person Summary 1.50 525.00
Judgment hearing
02/16/24 EP Prepare case law for in-person summary judgment 1.00 350.00
hearing
02/19/24 EP Emails to and from and telephone calls to Federal 0.30 105.00
Court Reporter's office regarding recording of hearing
02/19/24 EP Prepare chronology 0.70 245.00
02/20/24 EP Travel to and from and attendance at in-person 2.30 805.00

hearing on Renewed Motion for Entry of Summary
Judgment Interpleader Order: Email to client
regarding hearing

02/20/24 EP Review paperless order of minutes from summary 0.10 35.00
judgment hearing
02/27/24 EP Draft proposed Second Motion to Extend Certain 1.00 350.00

Pre-Trial Deadlines; Email to and from Mr. Chase
regarding proposed Motion

Fee Summary

Name Hours Amount

Ellen Patterson 10.90 3,815.00

Total Fees 10.90 $3,815.00

Costs

Expenses Amount

Postage 1.28

Westlaw Research 45.45

Total Costs $46.73

Current Bill Total Amount Due $3,861.73
Past Due Amount $29,625.80

Total Balance Due $33,487.53

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 45 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39344
Bill Date: March 1, 2024
Client Code: 15543
Matter Code: 002
Matter Name: Autonomy Investment
Current Bill Total Amount Due $3,861.73
Past Due Amount $29,625.80
Total Balance Due $33,487.53

Amount enclosed:

Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 46 of 48

Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131
Tax ID No. XX-XXXXXXX

Tax |.D.: XX-XXXXXXX

Perland Title & Escrow Corp April 1, 2024
C/O Judith M. Peraza Bill # 39346
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Re: 15543-002
Autonomy Investment

Professional Fees

Atty Description Hours Amount

03/05/24 EP Review paperless order entered granting Motion for 0.10 35.00
Extension of Time to Extend Certain Pre-Trial
Deadlines by 45 Days

03/06/24 EP Draft proposed Motion to Continue Trial; Email to and 0.50 175.00
from opposing counsel regarding same

03/06/24 EP Telephone conference with client regarding status 0.10 35.00

03/15/24 EP Draft proposed Order granting Motion to Postpone 0.10 35.00
Trial

03/19/24 EP Review Order entered granting Motion to Continue 0.30 105.00

Trial and Staying Case; Email to and from client
regarding same;

03/21/24 EP Review Paperless Order entered closing case 0.10 35.00
pursuant to order instituting stay

Fee Summary

Name Hours Amount
Ellen Patterson 1.20 420.00
Total Fees 1.20 $420.00

Costs
Expenses Amount
Westlaw Research 18.86

Total Costs $18.86
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 47 of 48

Client Ref: 15543 - 002 April 1, 2024
Bill # 39346 Page 2
Current Bill Total Amount Due $438.86
Past Due Amount $33,487.53

Total Balance Due $33,926.39
Case 1:23-cv-21445-LMR Document 90-2 Entered on FLSD Docket 06/12/2024 Page 48 of 48

Please return this page with remittance

to
Levine Kellogg Lehman Schneider + Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, Florida 33131

Bill # 39346
Bill Date: April 1, 2024
Client Code: 15543

Matter Code: 002
Matter Name: Autonomy Investment

Current Bill Total Amount Due $438.86
Past Due Amount $33,487.53
Total Balance Due $33,926.39

Amount enclosed:

